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                          IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

VERONICA RAMIREZ,

        Plaintiff,

v.                                                                               No. 20-cv-0824 MV/SMV

JOSEPH J. MARTINEZ, EBETH CRUZ-MARTINEZ,
MARIANNA VIGIL, and ROBERT GONZALES,

        Defendants.


              ORDER GRANTING IN PART AND DENYING IN PART
       PLAINTIFF’S MOTION TO EXTEND SCHEDULING ORDER DEADLINES

        THIS MATTER is before the Court on Plaintiff’s Motion to Extend Scheduling Order

Deadlines [Doc. 89], filed March 1, 2022. No party responded in opposition, and the time for

doing so has passed. The Court will grant the Motion in part and deny it in part. Any and all

deadlines not explicitly amended herein remain in effect. See, e.g., Scheduling Order [Doc. 53].

This extension of deadlines makes moot Defendant Robert Gonzales’s Motion to Extend

Dispositive Motions Deadline [Doc. 91], filed on March 10, 2022.

        IT IS ORDERED that Plaintiff’s Motion to Extend Scheduling Order Deadlines [Doc. 89]

be GRANTED IN PART and DENIED IN PART and the Scheduling Order [Doc. 53] be

AMENDED as follows:

           Motions relating to discovery filed by:1                                    May 28, 2022



1
  See D.N.M.LR-Civ. 7 for motion practice requirements and timing of responses and replies. The discovery motions
deadline does not extend the 21-day time limit in D.N.M.LR-Civ. 26.6 (Party served with objection to discovery
request must file motion to compel within 21 days of service of objection. Failure to file motion within 21 days
constitutes acceptance of the objection.).
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            Pretrial motions other than discovery motions2 filed                             June 10, 2022
            by:

            Proposed Pretrial Order due from Plaintiff to                                           Vacated
            Defendant by:

            Proposed Pretrial Order due from Defendant to                                           Vacated
            Court by:3

         IT IS FURTHER ORDERED that the request to set a deadline for discovery directed to

Defendant Martinez, [Doc. 89] at 4, be DENIED at this time. [Doc. 50] at 6 (staying discovery

addressed to Defendant Martinez). The pending Motion to Lift Discovery Stay as to Defendant

Martinez [Doc. 88] will be decided in due course.

         IT IS FURTHER ORDERED that Defendant Martinez be reminded of his duty to file a

notice every three months, updating the Court on the status of the criminal proceedings.4

[Doc. 50] at 6. The most recent notice was filed February 16, 2022. [Doc. 84]. Accordingly, the

next is due no later than May 16, 2022.

         IT IS FURTHER ORDERED that Defendant Robert Gonzales’ Motion to Extend

Dispositive Motions Deadline [Doc. 91] be DENIED as moot.

         IT IS SO ORDERED.

                                                                          ______________________________
                                                                          STEPHAN M. VIDMAR
                                                                          United States Magistrate Judge

2
  This deadline applies to motions related to the admissibility of experts or expert testimony that may require a Daubert
hearing, but otherwise does not apply to motions in limine. The Court will set a motions in limine deadline in a separate
order.
3
  The Proposed Pretrial Order must provide that no witnesses, except rebuttal witnesses whose testimony cannot be
anticipated, will be permitted to testify unless the name of the witness is furnished to the Court and opposing counsel
no later than 30 days prior to the time set for trial. Any exceptions thereto must be upon order of the Court for good
cause shown.
4
  When the relevant criminal trial proceedings conclude, Defendant Martinez must file a notice within two weeks. (He
may not wait three months to update the Court.). [Doc. 50] at 6 n.9.
                                                           2
